Case 2:05-cr-20203-.]DB Docu-ment 24 Filed 07/19/05 Page 1 of 4 Page|D 38
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05 JUL 19 PH 142 ms THE UN|TED STATES DISTRICT COURT

 

  

 

 
 
  

 

 

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#' Comes now the United States of Amen'ca, and hereby requests the Court to authorize go §§
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the provision to defense counsel in Unr`ted States v. Ward Cn)tch)ield and Chan'es Love, 05- mg
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20204-[3; Unr`ted States v. Chn's Newton and Chan'es Love, 05-20205-M1; Unr`ted States v. §§
\ ?/.
John Ford, 05-20201-3; United States v. Roscoe Dixon and Barry Myers, 05-20202-|\/|1; 8\%,
and Unr'ted States v. Kathryn Bowers and Bany Myers, 05-20203~M1 of copies of the
followling:
1.
No. 05F

Redacted portions of Title ill applications orders and affidavits in N|iscellaneous
2.

WT-OOt(W.D.TN-) and all orders, applications and affidavits submitted requesting
extension or modification of that order.

Copies of audio and visual interceptions which were obtained as a result of said

orders, to the extent that said interceptions are relevant as discovery materia|, or other
material appropriately furnished to defense counsel

At the governments request, sealing orders were issued to preserve the integrity of the

ongoing investigation The government is seeking the Court's permission to provide in

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discovery documents that were submitted to the Court to obtain said order and the fruits of
investigation as appropriately disclosed to the defense attorneys in the above-captioned
cases.

The United States also requests that it be allowed to redact said applications, orders
and aftidavits, editing those matters that are not material to the current indictments, as the
afHdavits, orders and applications contain information concerning lines of investigation that
are not yet completed and individuals who have not been charged in a criminal case. |fthis
information is disclosed to the general public, those lines of investigation may be
compromised in addition, the rights of individuals mentioned but not charged may be
prejudiced Forthese reasons, the government also requests that the disclosure be limited
to providing the discovery to defense counsel and their clients, and that the documents made
available to the attorneys for the defendants be subject to a protective order limiting the
dissemination of this information

Respectfully submitted,

TERRELL l_. HARR!S
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/`M/i/

 

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Case 2:05-cr-20203-.]DB Document 24 Filed 07/19/05 Page 3 of 4 Page|D 40

CERT|F|CATE OF SERV|CE

l, TIMOTHY R. DlSCENZA, Assistant United States Attorney forthe Western District

of Tennessee, hereby certify that a copy of the foregoing Motion and the proposed order were

mailed, first class postage prepaid, to the following:

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This notice confirms a copy of the document docketed as number 24 in
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Honorable J. Breen
US DISTRICT COURT

